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                             43150359IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al., 1                      Case No. 23-10597 (BLS)

                      Debtors.                                       (Jointly Administered)



                             NOTICE OF AGENDA MATTERS SCHEDULED FOR
                         STATUS CONFERENCE ON AUGUST 16, 2023 AT 10:00 A.M. (ET)


                                       This hearing will be conducted by Zoom only.

                              COURTCALL WILL NOT BE USED FOR THIS HEARING

                                       Register in advance for this meeting:
                https://debuscourts.zoomgov.com/meeting/register/vJIsf-mpqj8rGct7pWch1MK_t-
                                                    qfCnC5bKc


                 After registering your appearance by Zoom, you will receive a confirmation email
                                 containing information about joining the hearing.

               YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU
                          WILL NOT BE ALLOWED INTO THE MEETING.


         RESOLVED MATTERS

         1.           Motion Pursuant to Sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy Rule
                      9018, and Local Rule 9018-1 for Authority to File Under Seal Certain Information
                      Contained in the (A) Debtors’ Motion to Enforce Automatic Stay and Non- Discrimination
                      Provisions of the Bankruptcy Code, and for Civil Contempt, (B) the Declaration of David
                      Maria in Support of the Motion, and (C) Exhibit L to the Declaration of Patricia B.
                      Tomasco in Support of the Motion [D.I. 161, 6/30/23]




         1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.
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              Response Deadline:                             July 14, 2023 at 4:00 p.m. (ET)

              Responses Received:                            None

              Related Documents:

              A.        Certificate of No Objection [D.I. 223, 7/20/23]

              B.        Order [D.I. 226, 7/24/23]

              Status:          An order has been entered. No hearing is required.

         2.   Amended Motion Pursuant to Sections 105(a) and 107(b) of the Bankruptcy Code,
              Bankruptcy Rule 9018, and Local Rule 9018-1 to File Under Seal Certain Information
              Contained in (A) Florida Office of Financial Regulation’s Objection to Debtor’s Motion to
              Enforce Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
              for Civil Contempt, and (B) the Declaration of Brandon Greenberg in Support of the
              Objection to Debtors’ Motion [D.I. 184, 7/7/23]

              Response Deadline:                             July 14, 2023 at 4:00 p.m. (ET)

              Responses Received:                            None

              Related Documents:

              A.        Motion Pursuant to Sections 105(a) and 107(b) of the Bankruptcy Code,
                        Bankruptcy Rule 9018, and Local Rule 9018-1 to File Under Seal Certain
                        Information Contained in (A) Florida Office of Financial Regulation’s Objection
                        to Debtor’s Motion to Enforce Automatic Stay and Non-Discrimination Provisions
                        of the Bankruptcy Code, and for Civil Contempt, and (B) the Declaration of
                        Brandon Greenberg in Support of the Objection to Debtors’ Motion [D.I. 179,
                        7/6/23]

              B.        Order [D.I. 204, 7/12/23]

              Status:          An order has been entered. No hearing is required.

         3.   Motion Seeking Interim Extension of Deadline to Come Into Compliance with Bankruptcy
              Code Section 345(b) [D.I. 240, 8/2/23]

              Response Deadline:                             August 9, 2023 at 4:00 p.m. (ET)

              Responses Received:                            None



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              Related Documents:

              A.        Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
                        Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
                        Certain Pre-Petition Obligations Related Thereto, and (C) Continue to Perform
                        Intercompany Transactions, (II) Granting Superpriority Administrative Expense
                        Status to Post-Petition Intercompany Balances, and (III) Granting Related Relief
                        [D.I. 8, 5/8/23]

              B.        Supplement to Debtors’ Motion Seeking Entry of Interim and Final Orders
                        (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
                        System, (B) Honor Certain Pre-Petition Obligations Related Thereto, and
                        (C) Continue to Perform Intercompany Transactions, (II) Granting Superpriority
                        Administrative Expense Status to Post-Petition Intercompany Balances, and
                        (III) Granting Related Relief [D.I. 181, 7/6/23]

              C.        Further Interim Order Extending the Debtors’ Deadline to Comply with Section
                        345(b) of the Bankruptcy Code [D.I. 206, 7/12/23]

              D.        Declaration of Patricia B. Tomasco in Support of Debtors’ Motion Seeking Interim
                        Extension of Deadline to Come Into Compliance with Bankruptcy Code Section
                        345(b) [D.I. 241, 8/2/23]

              E.        Declaration of James Waschak in Support of Debtors’ Motion for Entry of an Order
                        Amending Cash Management Order to Require Customers Bank to Honor Debtors’
                        Bank Account Requests and Motion Seeking Interim Extension of Deadline to
                        Come Into Compliance with Bankruptcy Code Section 345(b) [D.I. 245, 8/3/23]

              F.        Certificate Of No Objection [D.I. 265, 8/11/23]

              G.        Order [D.I. 268, 8/14/23]

              Status:          An order has been entered. No hearing is required.

         4.   Debtors’ Motion for Entry of an Order Amending Cash Management Order to Require
              Customers Bank to Honor Debtors’ Bank Account Requests [D.I. 242, 8/2/23]

              Response Deadline:                             August 9, 2023 at 4:00 p.m. (ET)

              Responses Received:                            None




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              Related Documents:

              A.        Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the
                        Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
                        Certain Pre-Petition Obligations Related Thereto, and (C) Continue to Perform
                        Intercompany Transactions, (II) Granting Superpriority Administrative Expense
                        Status to Post-Petition Intercompany Balances, and (III) Granting Related Relief
                        [D.I. 8, 5/8/23]

              B.        Supplement to Debtors’ Motion Seeking Entry of Interim and Final Orders (I)
                        Authorizing the Debtors to (A) Continue to Operate Their Cash Management
                        System, (B) Honor Certain Pre-Petition Obligations Related Thereto, and (C)
                        Continue to Perform Intercompany Transactions, (II) Granting Superpriority
                        Administrative Expense Status to Post-Petition Intercompany Balances, and (III)
                        Granting Related Relief [D.I. 181, 7/6/23]

              C.        Final Order (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
                        Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
                        and (C) Continue to Perform Intercompany Transactions, (II) Granting
                        Superpriority Administrative Expense Status to Post-Petition Intercompany
                        Balances, and (III) Granting Related Relief [D.I. 205, 7/12/23]

              D.        Order, Pursuant to Bankruptcy Rule 9006(c) and Local Rule 9006-1(e), Shortening
                        the Notice Period of the Debtors’ Motion for Entry of an Order Amending Cash
                        Management Order to Require Customers Bank to Honor Debtors’ Bank Account
                        Requests [D.I. 244, 8/3/23]

              E.        Declaration of James Waschak in Support of Debtors’ Motion for Entry of an Order
                        Amending Cash Management Order to Require Customers Bank to Honor Debtors’
                        Bank Account Requests and Motion Seeking Interim Extension of Deadline to
                        Come Into Compliance with Bankruptcy Code Section 345(b) [D.I. 245, 8/3/23]

              F.        Certificate Of No Objection [D.I. 266, 8/11/23]

              G.        Order [D.I. 269, 8/14/23]

              Status:          An order has been entered. No hearing is required.

         STATUS CONFERENCE MATTER

         5.   Debtors’ Motion to Enforce Automatic Stay and Non-Discrimination Provisions of the
              Bankruptcy Code, and for Civil Contempt [(Sealed) D.I. 149; (Redacted) D.I. 152, 6/28/23]

              Response Deadline:                             July 5, 2023 at 4:00 p.m. (ET)


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             Responses Received:

             A.    Florida Office of Financial Regulation’s Objection to Debtors’ Motion to Enforce
                   Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                   for Civil Contempt; [(Redacted) D.I. 170; (Sealed) D.I. 172, 7/5/23]

             B.    Florida Office of Financial Regulations’ Objection to Debtor’s Motion to Enforce
                   Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                   for Civil Contempt [D.I. 174, 7/5/23]

             Related Documents:

             C.    Declaration of David Maria in Support of Debtors’ Motion to Enforce Automatic
                   Stay and Non-Discrimination Provisions of the Bankruptcy Code, and for Civil
                   Contempt [(Sealed) D.I. 150; (Redacted) D.I. 154, 6/28/23]

             D.    Declaration of Patricia B. Tomasco in Support of Debtors’ Motion to Enforce
                   Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                   for Civil Contempt [(Sealed) D.I. 151; (Redacted) D.I. 155, 6/28/23]

             E.    Declaration of Steven D. Merriman in Support of Debtors’ Motion to Enforce
                   Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                   for Civil Contempt [D.I. 153, 6/28/23]

             F.    Florida Office of Financial Regulation’s Motion for Enlargement of Time to Object
                   to Debtor’s Motion to Enforce the Automatic Stay and Non- Discrimination
                   Provisions of the Bankruptcy code, and For Civil Contempt (Doc. No. 149)
                   [D.I. 164, 7/3/23]

             G.    Declaration of Brandon Greenberg in Support of Florida Office of Financial
                   Regulations’ Objection to Debtor’s Motion to Enforce Automatic Stay and Non-
                   Discrimination Provisions of the Bankruptcy Code, and for Civil Contempt
                   [(Redacted) D.I. 171, 7/5/23]

             H.    Declaration of Brandon Greenberg in Support of Florida Office of Financial
                   Regulations’ Objection to Debtor’s Motion to Enforce Automatic Stay and Non-
                   Discrimination Provisions of the Bankruptcy Code, and for Civil Contempt
                   [(Sealed) D.I. 173; (Redacted) D.I. 175; 7/5/23]

             I.    Stipulation and Order Adjourning the Hearing on the Debtors’ Motion to Enforce
                   Automatic Stay and Non-Discrimination Provisions of the Bankruptcy Code, and
                   for Civil Contempt [D.I. 186, 7/10/23]




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             J.     Notice of Service of First Set of Requests for Production to the State of Florida
                    Office of Financial Regulation [D.I. 225, 7/21/23]

             K.     Debtors’ Letter Dated August 9, 2023 Regarding Debtors’ Requests for Production
                    to the State of Florida Office of Financial Regulation [D.I. 256, 8/9/23]

             L.     Florida Office of Financial Regulation Response Letter [D.I. 258, 8/10/23]

             M.     Exhibit A to Florida Office of Financial Regulation Response Letter [D.I. 259,
                    8/10/23]

             Status: This matter is going forward as a status conference.



                                         [Signature Page Follows]




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             Dated: August 14, 2023             YOUNG CONAWAY STARGATT &
             Wilmington, Delaware               TAYLOR, LLP

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